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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
v.                                                § CRIMINAL CASE NO. 3:17-CR-00459-L-1
                                                  §
BYRON KEITH RISER,                                §
  #56250-177,                                     §
               Defendant.                         §


                      MEMORANDUM OPINION AND ORDER
       Before the court is Defendant’s Pro Se Motion for Compassionate Release Under 18 U.S.C.

§ 3582(c)(1)(A) Due to Extraordinary and Compelling Reasons and the COVID-19 Virus

Pandemic. As detailed here, the motion is denied.

                                                  I.

       In 2018, Defendant pled guilty to possession with intent to distribute a controlled substance

and was sentenced to 60 months’ imprisonment. Crim. Doc. 39. He now seeks release from

confinement because he suffers from preexisting, chronic medical conditions—coronary artery

disease, hypertension, hyperlipidemia, unstable angina—and needs heart surgery, all of which he

claims render him more susceptible to the COVID-19 virus. Crim. Doc. 41 at 1-2. As further

support, Defendant states that he is “on disability due to his ill-health.” Id.

       According to the BOP’s website, Defendant is 57 years old, has a projected release date of

December 20, 2021, and is presently confined at FCI Seagoville. As of June 9, 2020, the BOP’s

website reported no COVID-19 positive cases among FCI Seagoville’s inmates, but noted that one




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staff person had tested positive. 1 Upon review, the court concludes that Defendant is not eligible

for a sentence modification.

                                                II.

       A district court lacks inherent authority to modify a defendant’s sentence after it has been

imposed. See 18 U.S.C. § 3582(c); however, under Section 3582(c)(1)(A), as amended by the

First Step Act of 2018, “[a] court, on a motion by the [Bureau of Prisons (“BOP”)] or by the

defendant after exhausting all BOP remedies, may reduce or modify a term of imprisonment,

probation, or supervised release after considering the factors of 18 U.S.C. § 3553(a), if

‘extraordinary and compelling reasons warrant such a reduction.’” United States v. Chambliss, 948

F.3d 691, 692-93 (5th Cir. 2020) (quoting 18 U.S.C. § 3582(c)(1)(A)(i)); see id. at 693 n.1. The

court’s decision must also be “consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A).

       Defendant offers no proof that he exhausted all his administrative remedies. Even if the

Warden denied his request for a reduction in sentence, Defendant does not contend that he

attempted to commence an appeal through the Administrative Remedies process. He avers simply

that further exhaustion of his administrative remedies would be futile.            Doc. 41 at 1.

Notwithstanding his assertion, Section 3582(c)(1)(A)’s exhaustion requirement is “a glaring

roadblock foreclosing compassionate release” where “BOP has not had thirty days to consider [the

defendant’s] request to move for compassionate release on his behalf” or if “there has been no

adverse decision by BOP for [the defendant] to administratively exhaust within that time period.”




1
    The BOP’s inmate locator and COVID-19 cases websites are available at
https://www.bop.gov/inmateloc/ and https://www.bop.gov/coronavirus/ (last accessed on June 9,
2020).

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United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020); see also United States v. Miller, No. 2:17-

CR-015-D (02), 2020 WL 2514887, at *1 (N.D. Tex. May 15, 2020).

       Moreover, Defendant does not provide specific factual information unique to his own

circumstances and/or preexisting medical conditions sufficient to excuse his failure to exhaust

administrative remedies even considering the exceptional circumstances of the COVID-19

pandemic. See Raia, 954 F.3d at 597 (“[T]he mere existence of COVID-19 in society and the

possibility that it may spread to a particular prison alone cannot independently justify

compassionate release, especially considering BOP’s statutory role, and its extensive and

professional efforts to curtail the virus’s spread.” (citations omitted)). Thus, the court concludes

that Defendant has failed to exhaust his administrative remedies.

       Even discounting Defendant’s failure to exhaust, the court finds that Defendant has not

presented extraordinary and compelling reasons consistent with the Sentencing Guidelines Policy

Statement to warrant a reduction of his sentence under Section 3582(c)(1)(A).

       The policy statement sets forth three circumstances that are considered
       “extraordinary and compelling reasons.” Among these are the “medical condition
       of the defendant,” including where the defendant is “suffering from a serious
       physical or medical condition ... that substantially diminishes the ability of the
       defendant to provide self-care within the environment of a correctional facility and
       from which he or she is not expected to recover.”

Muniz, 2020 WL 1540325, at *1 (citing and quoting U.S.S.G. § 1B1.13(1)(A) & cmt. n.1). 2

       The court does not downplay Defendant’s chronic medical conditions—coronary artery

disease, hypertension, hyperlipidemia, unstable angina—or discount that being confined in a



2
 Because Section 1B1.13 of the advisory Guidelines has not been amended since the First Step
Act widened the availability of compassionate release under Section 3582(c)(1)(A), some district
courts have declined to apply this policy statement. See, e.g., United States v. Gonzales, No. SA-
05-CE-561-XR, 2019 WL 5102742, at *2-3 (W.D. Tex. Oct. 10, 2019); see also United States v.
Perdigao, Crim. A. No. 07-103, 2020 WL1672322, at *2 (E.D. La. Apr. 2, 2020).

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prison makes it more difficult for him or any prisoner to follow official precautions for social

distancing and handwashing while in custody. Defendant has failed, however, to provide sufficient

grounds for compassionate release. First, he fails to establish that his conditions are sufficiently

severe and that they diminish his ability to provide self-care. Even considering the April 5, 2019

medical report, Defendant does not present any other evidence and/or medical records

documenting his current symptoms and own unique circumstances sufficient to establish

exceptional and compelling circumstances. At best, he has offered only conclusory assertions

about his chronic medical conditions. See Delgado v. United States, 3:17-CR-242-B, 2020 WL

2542624, *3 (N.D. Tex. May 19, 2020) (denying compassionate release in part due to failure to

provide recent medical records “to establish how immunocompromised he may now be, which

would have allowed the Court to assess his current ability to provide self-care”).

       Moreover, despite his older age (57), the court still needs to assess the magnitude of

Defendant’s unique circumstances and chronic medical conditions. As noted in Delgado, 2020

WL 2542624, at *3, “the Court must consider every prisoner individually and should be cautious

about making blanket pronouncements that categories of prisoners–for example, all those who

have [chronic medical conditions identified by the CDC]–warrant compassionate release, even

given the unique circumstances of the COVID-19 pandemic.” General concerns about COVID-

19 without more are simply insufficient to invoke Section 3582(c)(1)(A), especially considering

that there is only one positive case among staff at FCI Seagoville and no positive cases among

inmates.

       In addition, even if there are extraordinary and compelling reasons for a sentence reduction,

the court is not persuaded that the Section 3553(a) factors would support Defendant’s request for

compassionate release. See United States v. Chambliss, 948 F.3d at 692-93. (“[C]ompassionate


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release is discretionary, not mandatory, and could be refused after weighing the sentencing factors

of 18 U.S.C. § 3553(a).”). The court weighs those factors as it did at sentencing. Defendant is

currently incarcerated for possession with intent to distribute a controlled substance.         At

sentencing, the advisory guidelines range was 57-60 months and the court imposed a sentence at

the top of the guidelines range of 60 months. Based on the record as a whole, the court cannot

now conclude that the Section 3553(a) factors would support the relief Defendant seeks.

                                               III.

       For the foregoing reasons, Defendant’s Motion for Compassionate Release is denied.

       It is so ordered this 11th day of June, 2020.




                                                       _________________________________
                                                       Sam A. Lindsay
                                                       United States District Judge




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